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                                                                FILED: July 6, 2009


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                       No. 07-4115
                                   (8:04-cr-00235-RWT)
                                   ___________________


        UNITED STATES OF AMERICA,

                               Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a
        Dobie Parker,

                               Defendant - Appellant

                                   ___________________

                                        O R D E R
                                   ___________________

               The Court will not consider a motion to file a pro se

        supplemental brief unless the motion is accompanied by the

        proposed brief. The Court denies appellant's motion to file a

        pro se supplemental brief because the motion was not accompanied

        by the proposed brief.

                                           For the Court--By Direction

                                           /s/ Patricia S. Connor, Clerk
